  Case 2:04-cr-20006-JWL          Document 265        Filed 07/06/12   Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )        Case No. 04-20006-JWL
                                                  )
JAMI MOSLEY,                                      )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       Defendant Jami Mosley was convicted following a jury trial of conspiracy to

possess with intent to distribute 5 kilograms or more of cocaine and managing a

residence for the purpose of unlawfully storing and distributing a controlled substance.

On July 8, 2005, Ms. Mosley was sentenced to the statutory mandatory minimum term

of 120 months imprisonment. On April 8, 2008, she filed a Motion for Retroactive

Application of Sentencing Guidelines pursuant to 18 U.S.C. § 3582(c) (doc. 253). The

court summarily denied the § 3582 motion (doc. 254).

       On May 8, 2012, Ms. Mosley filed a second Motion for Retroactive Application

of Sentencing Guidelines pursuant to 18 U.S.C. § 3582(c) (doc. 260). The following

day, the court ordered that Ms. Mosley “shall have until May 29, 2012 to notify the court

if she wishes to proceed on this document as a Motion for Retroactive Application of

Sentencing Guidelines to Crack Cocaine Offense 18 U.S.C. § 3582 or if she wishes to
  Case 2:04-cr-20006-JWL        Document 265       Filed 07/06/12      Page 2 of 5




withdraw the document” (doc. 261). On May 25, 2012, the defendant filed a Motion to

Appoint Counsel (doc. 264), seeking to “preserve her rights” as related to her § 3582

motion. As such, the court finds that Ms. Mosley has indicated that she wishes to

proceed on her § 3582 motion.

       For the reasons set forth below and in the interest of judicial economy,

defendant’s Motion to Appoint Counsel (doc. 264) is summarily denied and defendant’s

Motion for Retroactive Application of Sentencing Guidelines (doc. 260) is summarily

dismissed for lack of jurisdiction without further briefing by the parties.

1. Motion to Appoint Counsel

       Ms. Mosley asks the court to appoint her an attorney to assist with her § 3582

motion. There is, however, no constitutional right to counsel beyond the direct appeal

of a conviction. Swazo v. Wyo. Dep’t of Corrs., 23 F.3d 332, 333 (10th Cir. 1994).

“[T]he right to appointed counsel extends to the first appeal of right, and no further.”

Pennsylvania v. Finley, 481 U.S. 551, 555 (1987). The court has the discretionary ability

to appoint counsel under 18 U.S.C. § 3006A(a)(2)(B), unless the matter requires an

evidentiary hearing. Because an evidentiary hearing on this matter is unnecessary, and

Ms. Mosley’s pro se pleadings demonstrate that she is able to effectively articulate her

claims, the court denies her request for the appointment of counsel.

2. 18 U.S.C. § 3582

       Ms. Mosley seeks a reduction in her sentence under the Fair Sentencing Act of

2010 (FSA). She concedes that the FSA has not been applied retroactively but seeks to

                                            2
  Case 2:04-cr-20006-JWL        Document 265       Filed 07/06/12    Page 3 of 5




“preserve her issues pending any ruling by the Supreme Court or any vote by Congress

to apply Amendment 750 [to the United States Sentencing Guidelines] retroactively”

(doc. 260, at 2). Ms. Mosley also raises a constitutional challenge, arguing that because

the FSA does not apply retroactively, it denies her equal protection under the law (id.).

       Section 3582 allows a court to modify a sentence “in the case of a defendant who

has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission . . . consistent with the

applicable policy statement issued by the Sentencing Commission.” 18 U.S.C. §

3582(c)(2). The policy statement to which § 3582(c)(2) refers is § 1B1.10 of the United

States Sentencing Guidelines. Section 1B1.10 allows a court to reduce a term of

imprisonment under § 3582(c) provided that the guideline range applicable to the

defendant was subsequently lowered by one of the specific amendments to the

Guidelines listed in § 1B1.10(c). U.S.S.G. § 1B1.10(a)(1). Section 1B1.10(a)(2)

provides that a reduction is not authorized if the retroactive amendments do not apply

to the defendant or do not have the effect of lowering the applicable guideline range.

       In 2010, Congress passed the Fair Sentencing Act (FSA), Pub. L. No. 11-120, 124

Stat. 2372 (2010), amending various United States Code provisions with respect to crack

cocaine violations, which, in effect, raised the quantities of cocaine base required to

trigger various statutory mandatory minimum sentences from a 100:1 to an 18:1

“crack-to-powder” ratio. The statutory provisions of the FSA, including the increase in

the threshold quantity of crack cocaine required to trigger a mandatory minimum

                                           3
  Case 2:04-cr-20006-JWL        Document 265       Filed 07/06/12    Page 4 of 5




sentence, were not made retroactive.1 United States v. Lewis, 625 F.3d 1224, 1228 (10th

Cir. 2010). The FSA directed the Sentencing Commission to amend the Sentencing

Guidelines to conform with the new law within 90 days of the FSA’s enactment. In

response, the Sentencing Commission issued amended Guidelines to reflect the FSA’s

new crack-to-powder ratio. U.S.S.G. App. C, Amend. 750 (2011). The Commission

subsequently ordered that this Amendment, unlike the FSA, become retroactively

effective on November 1, 2011.

       Here, Ms. Mosley was sentenced on July 8, 2005 to the statutory mandatory

minimum. As such, she is ineligible for relief under § 3582(c)(2) because none of the

amendments to the United States Sentencing Guidelines have the effect of lowering the

her applicable guideline range. See U.S.S.G. § 1B1.10, cmt. n.1 (2011) (“[A] reduction

in the defendant’s term of imprisonment is not authorized under 18 U.S.C. 3582(c)(2)

. . . [if] an amendment listed in subsection (c) is applicable to the defendant but the

amendment does not have the effect of lowering the defendant’s applicable guideline

range because of the operation of another guideline or statutory provision (e.g., a

statutory mandatory minimum term of imprisonment).”). Ms. Mosley’s argument that

the FSA should apply retroactively is foreclosed by the Tenth Circuit’s opinion in Lewis,

625 F.3d at 1228 (finding the FSA does not apply retroactively).

       Finally, Ms. Mosley argues that the FSA denies her equal protection under the


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        The FSA only applies to defendants sentenced after August 3, 2010. See Pub.
L. No. 11-220, 124 Stat. 2372 (2010).

                                           4
  Case 2:04-cr-20006-JWL       Document 265       Filed 07/06/12    Page 5 of 5




law. She is precluded from advancing this claim, however, as a § 3582(c)(2) motion is

an improper vehicle to raise constitutional arguments. United States v. Gonzalez, 304

Fed. App’x 739, 741 (10th Cir. 2009); see United States v. Martin, 367 Fed. App’x 584,

585 (6th Cir. 2010) (“[Section] 3582’s narrow ambit excludes constitutional

challenges.”).

       As the facts establish that Ms. Mosley’s sentence is not based on a guideline

range that has subsequently been lowered by the Sentencing Commission, the court is

without jurisdiction to consider a reduction of sentence under § 3582(c)(2). United

States v. Curtis, 252 Fed. App’x 886, 887 (10th Cir. 2007) (Where the amendment did

not subsequently lower the defendant’s Guideline range, the district court has no

jurisdiction to consider a modification to his sentence under 18 U.S.C. § 3582(c)(2)).




       IT IS THEREFORE ORDERED BY THE COURT that defendant’s Motion

to Appoint Counsel (doc. 264) is summarily denied and defendant’s Motion for

Retroactive Application of the Sentencing Guidelines (doc. 260) is summarily dismissed

for lack of jurisdiction.



       IT IS SO ORDERED this 6th day of July, 2012.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge


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